326 F.2d 971
    FARMERS TRACTOR &amp; EQUIPMENT CO., Appellantv.UNITED STATES.
    No. 17504.
    United States Court of Appeals Eighth Circuit.
    Jan. 20, 1964.
    
      J. Gaston Williamson, Little Rock, Ark., for appellant.
      Louis F. Oberdorfer, Asst. Atty. Gen., Lee A. Jackson, Atty., Dept. of Justice and Robert D. Smith, U.S. Atty., for appellee.
      PER CURIAM.
    
    
      1
      Appeal dismissed on motion of appellant.  D.C., 224 F.Supp. 391.
    
    